                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF WISCONSIN


RICHARD L. JONES,

             Plaintiff,

      v.                                             Case No. 20-CV-308

YELENA NELSON,

             Defendant.


                              NOTICE AND ORDER


      Plaintiff Richard Jones, who is representing himself, filed a complaint under

42 U.S.C. § 1983. On October 1, 2020, defendant Yelena Nelson filed a motion for

summary judgment on the ground that Jones failed to exhaust the available

administrative remedies before he filed his complaint. (ECF No. 30.) Under Civil L.

R. 56(b)(2), Jones’ response materials are due within thirty days of service of the

motion, or by Monday, November 2, 2020. In responding to Nelson’s motion for

summary judgment, Jones must respond to each of her proposed findings of fact by

agreeing with each proposed fact or explaining why he disagrees with a particular

proposed fact. If he does not indicate one way or the other, the court will assume that

he agrees with the proposed fact. Jones must support every disagreement with a

proposed fact by citing to evidence. He can do that by relying on documents that he

attaches to his response or by telling the court his version of what happened in an




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affidavit or an unsworn declaration under 28 U.S.C. § 1746.1 An unsworn declaration

is a way for a party to tell his side of the story while declaring to the court that

everything in the declaration is true and correct. Jones must also respond to the legal

arguments in Nelson’s brief.

      The court reminds Jones that, under Civil L. R. 7(d), a party’s failure to

respond to a motion is sufficient cause for the court to grant the motion. If Jones

believes he needs additional time to prepare his response materials, he must file a

motion asking the court to extend the deadline before his response materials are due.

If he files such a motion, he must explain why he needs additional time and how much

additional time he needs.

      IT IS THEREFORE ORDERED that, if by November 2, 2020, Jones does

not respond to Nelson’s summary judgment motion or does not request additional

time to do so, the court will grant the motion and dismiss this case.

      Dated at Milwaukee, Wisconsin this 2nd day of October, 2020.



                                              s/Nancy Joseph
                                              NANCY JOSEPH
                                              U.S. Magistrate Judge




1
 At the bottom of his declaration he should state: “I declare under penalty of perjury
that the foregoing is true and correct. Executed on [date]. [Signature].” 28 U.S.C. §
1746(2).
                                          2



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